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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION



 GRILLO’S PICKLES, INC.                                  Case No.:

                Plaintiff,

 vs.
                                                         JURY TRIAL DEMANDED
 PATRIOT PICKLE, INC.,

                Defendant.




                                     VERIFIED COMPLAINT

        Plaintiff Grillo’s Pickles, Inc. (“Grillo’s”) by way of its Complaint against defendant

 Patriot Pickle, Inc. (“Patriot”), alleges as follows:

                                   NATURE OF THE ACTION

        1.      Grillo’s brings this action to enjoin Patriot from using recipes it has

 misappropriated from Grillo’s to roll out a new, nationwide line of pickles, which threaten to

 cripple Grillo’s business at one of its biggest retailers and harm its customer base irreparably.

        2.      In 2012, Grillo’s entered into negotiations with Patriot regarding a potential co-

 packing relationship, wherein Patriot would manufacture, package, label, and ship a portion of

 Grillo’s pickles. To protect Grillo’s recipes, Patriot and Grillo’s entered into a Mutual

 Nondisclosure Agreement under which Patriot promised to “maintain in trust and confidence and

 not disclose to any third party or use for any unauthorized purpose any” of Grillo’s information,

 including its “formulas” and “processes.” In the same agreement, Patriot agreed that Grillo’s

 information “shall remain the property of [Grillo’s]. . . .”

        3.      Thereafter, Grillo’s entrusted Patriot with Grillo’s proprietary recipes and

 manufacturing and packaging processes, and Patriot began to co-pack Grillo’s pickles.


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         4.     While Patriot was co-packing for Grillo’s, the parties also signed two other

 agreements in which Patriot agreed to maintain the secrecy of Grillo’s recipes and processes.

 The first agreement, signed in May 2015, stated, “the name, recipes and formulations for Grillo’s

 Pickles remain the sole and exclusive property of Grillo’s Pickles, LLC,” and Patriot agreed “not

 to disclose any confidential information to anyone other than those who have a need to know.”

 The second agreement, signed in August 2016, again stated, “the name, recipes and formulations

 for Grillo’s Pickles remain the sole and exclusive property of Grillo’s Pickles, LLC.”

         5.     Now, however, Grillo’s has discovered Patriot is violating its agreements with

 Grillo’s by using Grillo’s proprietary recipes and processes to produce a new line of pickles

 under the Whole Foods 365 label and is in the process rolling out this new pickle line to stores

 across the United States. Patriot’s new pickles are offered directly next to Grillo’s pickles at

 Whole Foods, one of Grillo’s biggest retailers. They list identical ingredients and nearly

 identical nutrition facts as Grillo’s. And, they are priced at over a 30% discount compared to

 Grillo’s.

         6.     In short, Patriot’s use of recipes and processes stolen from Grillo’s to roll out a

 nearly identically formulated line of pickles nationwide at one of Grillo’s biggest retailers, at a

 lower price point, and during the highest grossing time of years for pickle sales, threatens to

 cripple Grillo’s business and customer base irreparably. It urgently must be stopped.

         7.     Accordingly, Grillo’s brings this action against Patriot for misappropriation of

 Grillo’s confidential, proprietary, and trade secret information in violation of the Defend Trade

 Secrets Act, 18 U.S.C. § 1836 and the Florida Uniform Trade Secrets Act, Fla. Stat. §§ 688.001

 et seq, and breach of contract.

         8.     Given the irreparable harm Grillo’s faces and the roll-out of Patriot’s pickles that

 appears to be just beginning, Grillo’s seeks emergency injunctive relief in addition to a

 permanent injunction and damages.

                                              PARTIES

         9.     Plaintiff Grillo’s is a corporation incorporated under the laws of Delaware with its

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 principal place of business in Westwood, Massachusetts. Grillo’s was founded by Travis Grillo

 in 2008 when he began selling pickles using his grandfather’s 100-year-old recipe out of a hand-

 built wooden cart on the streets of Boston. Since then, Grillo’s has evolved into a nationwide

 brand known for producing fresh pickles that do not contain artificial chemical preservatives.

 Customers choose Grillo’s because they know that when they purchase Grillo’s pickles, they are

 purchasing fresh pickles free from artificial preservatives.

         10.    Defendant Patriot Pickle Inc. is a corporation incorporated under the laws of

 Delaware with its principal place of business in Wayne, New Jersey. Among other things, a

 substantial amount of Patriot’s business involves “co-packing.” In the packaged food industry,

 co-packing is a practice in which one company (the co-packer) contracts to manufacture,

 package, label, and ship food for brands owned by others. As is relevant here, Patriot functions

 as a co-packer for Whole Foods 365 pickles. By virtue of this co-packing relationship, Patriot

 manufactures, packages, labels and ships Whole Foods 365 pickles from Patriot’s facility in

 Wayne, New Jersey on behalf of Whole Foods.

                                  JURISDICTION AND VENUE

         11.    This court has federal question jurisdiction over Grillo’s claim arising under the

 Defend Trade Secrets Act, §§ 1836-39 et seq., pursuant to 28 U.S.C. § 1331. This court has

 supplemental jurisdiction over Grillo’s state law claims pursuant to 28 U.S.C. § 1367.

         12.    Venue in this Court is proper because “a substantial part of the events . . . giving

 rise to [Plaintiff’s] claims occurred” in this district. 28 U.S.C. § 1391(b)(2). Specifically,

 Patriot’s Whole Foods 365 pickles are being sold at Whole Foods locations throughout this

 district.

                                   FACTUAL ALLEGATIONS

 A.      Grillo’s Trade Secret Recipes and Processes

         13.    Grillo’s recipes and processes for its delicious, all natural pickles were developed

 through a painstaking process over the course of many years. Through iterations of trial and

 error, Grillo’s has identified what it believes are the best recipes and processes to provide its

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 customers with long-lasting, all natural pickles they love, without artificial preservatives. The

 recipes and processes relevant for the current action include Grillo’s recipes and processes for its

 “Hot Pickle Spears,” “Pickle Spears,” “Dill Pickle Chips,” and “Whole Dills,” including the

 ratios and amounts of each ingredient used to manufacture each type of pickle and the types of

 and specifications for the ingredients used to make each type of pickle.

        14.     Thus, Grillo’s has gone to great lengths to keep its recipes and processes

 confidential, and it restricts access to such information on a strictly need -to-know basis. For

 example, (1) Grillo’s requires employees sign nondisclosure agreements before they join the

 company; (2) Grillo’s maintains a separate operations section of its server that restricts who can

 review certain material (like the recipes to Grillo’s various pickles); (3) Grillo’s recipes’ bill of

 materials is typically only handled by one high-level employee; and (4) all co-packers and

 vendors are required to sign nondisclosure agreements before Grillo’s enters into serious

 discussions regarding the recipes and manufacturing processes for its pickles.

 B.     Grillo’s and Patriot Begin a Co-Packing Relationship, and Patriot Promises to

        Maintain the Secrecy and Limit Its Use of Grillo’s Proprietary Recipes and

        Processes

        15.     In 2012, Grillo’s was seeking a copacker for its pickles and entered into

 negotiations with Patriot. In connection with this, Grillo’s and Patriot signed a Mutual

 Nondisclosure Agreement (attached hereto as Exhibit A) in which Patriot agreed to “maintain in

 trust and confidence and not disclose to any third party or use for any unauthorized purpose any

 Proprietary Information,” which was defined to include all Grillo’s information that was

 disclosed to Patriot, including Grillo’s “formulas” and “processes.” (Ex. A ¶ 3.)

        16.     In the Mutual Nondisclosure Agreement, Patriot also agreed that:

        All Proprietary Information (including all copies thereof) shall remain the

        property of the disclosing party and shall be returned to the disclosing party after

        the receiving party’s need for it has expired, or upon request of the disclosing

        party, and in any event, upon completion or termination of this Agreement. The

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         receiving party further agrees to destroy all notes and copies thereof made by its

         officers and employees containing or based on any Proprietary Information and to

         cause all agents and representatives to whom or to which Proprietary Information

         has been disclosed to destroy all notes and copies in their possession that contain

         Proprietary Information.

 (Id. ¶ 6.)

         17.     Although the Mutual Nondisclosure Agreement stated , “[t]he term of this

 agreement is five (5) years” (id. ¶ 11), it also stated it would “remain in full force and effect until

 such time as [Grillo’s and Patriot] mutually agree to terminate it” (id. ¶ 7).

         18.     The Mutual Nondisclosure Agreement also stated:

         Each party hereby acknowledges and agrees that, in the event of any breach of

         this Agreement by the other party, including, without limitations, the actual or

         threatened disclosure of a disclosing party’s Proprietary Information without the

         express written consent of the disclosing party, the disclosing party will suffer an

         irreparable injury such that no remedy at law will afford it adequate protection

         against or appropriate compensation for such injury. Accordingly, each party

         hereby agrees that the other party shall be entitled to specific performance of a

         receiving party’s obligations under this Agreement as well as further injunctive

         relief as may be granted by a court of competent jurisdiction.

 (Id. ¶ 10.)

         19.     Sometime thereafter, Grillo’s engaged Patriot as one of the co-packers for Grillo’s

 pickles. To enable Patriot to properly manufacture and package Grillo’s pickles, Grillo’s trusted

 Patriot with Grillo’s proprietary pickle recipes and specific manufacturing and packaging

 processes to produce pickles that do not contain artificial preservatives while still maintaining a

 lengthy shelf life.

         20.     Subsequently, in a May 2015 agreement allowing Grillo’s to store and maintain

 an ozone cleaning machine at Patriot’s facility (attached hereto as Exhibit B), the parties agreed

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 that the “name, recipes and formulations for Grillo’s Pickles remain the sole and exclusive

 property of Grillo’s Pickles, LLC.” (Ex. B ¶ 1.) That same agreement stated that the parties

 agreed not to “disclose any confidential information to anyone other than those who have a need

 to know.” (Id. ¶ 2.)

        21.     In an August 2016 addendum to the aforementioned ozone machine agreement

 (attached hereto as Exhibit C), the parties reiterated that the “name, recipes and formulations for

 Grillo’s Pickles remain the sole and exclusive property of Grillo’s Pickles, LLC.” (Ex. C.)

        22.     Patriot continued as one of Grillo’s copackers until the summer of 2021, when

 Grillo’s ended the relationship. To date, Grillo’s and Patriot have not mutually terminated the

 Mutual Nondisclosure Agreement.

        23.     Patriot has not returned all its copies of Grillo’s trade secret recipes and processes.

 Upon information and belief, Patriot also has not destroyed all notes and copies thereof made by

 its officers and employees containing or based on Grillo’s trade secret recipes and processes.

 C.     Patriot Discloses Grillo’s Proprietary Trade Secret Recipes and Processes to Whole

        Foods and Begins Using Grillo’s Recipes and Processes to Manufacture Nearly

        Identical Pickles

        24.     Sometime around May 2023, Patriot began manufacturing Whole Foods 365

 pickles. It manufactures several varieties of pickles for Whole Foods 365, including, but not

 limited to, “Dill Pickle Spicy Spears,” “Dill Pickle Spears,” “Dill Pickle Chips,” and “Dill Pickle

 Whole.”

        25.     These pickles look and taste incredibly similar to Grillo’s “Hot Pickle Spears,”

 “Pickle Spears,” “Dill Pickle Chips,” and “Whole Dills.” Like Grillo’s pickles, Whole Foods

 365 pickles are also sold in the refrigerated section. The labels on these pickles reveal that

 Patriot’s Whole Foods 365 pickles bear virtually identical nutritional information and are made

 from precisely the same ingredients as Grillo’s pickles.




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         26.     Additionally, upon testing Patriot’s Whole Foods 365 “Dill Pickle Spicy Spears,”

 “Dill Pickle Spears,” “Dill Pickle Whole,” and “Dill Pickle Chips,” the resulting chromatograms

 from these pickles’ organic acid profiles illustrate a nearly identical profile between Grillo’s and

 Patriot’s Whole Foods 365 pickles.

         27.     Although Whole Foods 365 has sold pickles for many years, before 2023, Whole

 Foods 365 pickles were co-packed by Hermann Pickles. When Whole Foods 365 used Hermann

 Pickles as its co-packer, the formula and the packaging for the aforementioned pickles was

 entirely different. It was not until it began using Patriot as a co-packer that Whole Foods 365

 pickles’ formula and packaging became virtually identical to Grillo’s pickles.

         28.     Upon information and belief, Patriot used Grillo’s confidential recipes and

 manufacturing processes (i.e. those for Grillo’s “Hot Pickle Spears,” “Pickle Spears,” “Dill

 Pickle Chips,” and “Whole Dills”) to manufacture and ship Whole Foods 365 pickles, and in

 order to become Whole Foods’ manufacturer, Patriot also disclosed these same confidential

 recipes and manufacturing processes to Whole Foods.

         29.     Whole Foods 365 pickles (indicated below in yellow) are sold nationwide,

 including in this District. They occupy the same part of the grocery store as Grillo’s pickles

 (indicated in red).




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                                               COUNT I

                         MISAPPROPRIATION OF TRADE SECRETS

                                (Florida Uniform Trade Secrets Act)

         30.     Grillo’s repeats and realleges each and every allegation contained in the preceding

  paragraphs above as if fully set forth herein.

         31.     This is an action for damages and injunctive relief pursuant to Florida’s Uniform

  Trade Secrets Act, Fla. Stat. §§ 688.001-688.009.

         32.     By virtue of its co-packing relationship, Patriot was entrusted with Grillo’s trade

  secret recipes and manufacturing processes, which form the basis of Grillo’s brand and are what

  differentiate Grillo’s pickles from other brands on the market. Those trade secrets derive

  independent economic value, actual and potential, from not being generally known or readily

  ascertainable by proper means by Grillo’s competitors or other persons or entities who could

  obtain economic value from their disclosure or use.

         33.     Patriot is, and at all relevant times was, bound to retain Grillo’s trade secrets in

  strict confidence. In the Mutual Nondisclosure Agreement, Patriot agreed it would “maintain in

  trust and confidence and not disclose to any third party” Grillo’s “formulas” and “processes.”

  (Ex. A ¶¶ 1, 3.) And, in the May 2015 agreement, Patriot promised not to “disclose any

  confidential information to anyone other than those who have a need to know.” (Ex. B ¶ 2.)

         34.     Patriot also is, and at all relevant times was, bound to limit its use of Grillo’s trade

  secrets. Pursuant to the terms of the Mutual Nondisclosure Agreement, Patriot was prohibited

  from “us[ing] for any unauthorized purpose” any of Grillo’s “Proprietary Information,” which

  included Grillo’s “formulas” and “processes.” (Ex. A ¶¶ 1, 3.) And, in both the May 2015 and

  August 2016 agreements, Patriot agreed that the “name, recipes and formulations for Grillo’s

  Pickles remain the sole and exclusive property of Grillo’s Pickles, LLC.” (Ex. B ¶ 1; Ex. C.)

         35.     Grillo’s has made reasonable efforts under the circumstances to maintain the

  secrecy of its recipes and manufacturing processes, including, but not limited to, (1) having all

  Grillo’s employees sign nondisclosure agreements before they join the company; (2) maintaining

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  a separate operations section of the Grillo’s server that restricts who can review certain material

  (like the recipes to Grillo’s various pickles); (3) ensuring the recipes’ bill of materials is typically

  only handled by one high-level employee; and (4) requiring all co-packers and vendors to sign

  nondisclosure agreements before Grillo’s enters into serious discussions regarding the recipe and

  manufacturing process for its pickles.

          36.     Patriot willfully and maliciously, and without authorization or consent from

  Grillo’s, has shared Grillo’s trade secrets with Whole Foods.

          37.     Patriot willfully and maliciously, and without authorization or consent from

  Grillo’s, is using Grillo’s proprietary recipes and processes to manufacture and ship pickles on

  behalf of Whole Foods.

          38.     As a direct and proximate result of the above-described actual and threatened

  misappropriations of Grillo’s trade secrets, Grillo’s has been damaged, for which it is entitled to

  compensatory and exemplary damages, and attorneys’ fees, interest, costs, and any other relief

  deemed proper by the Court.

          39.     Unless restrained, Patriot will continue to retain, misuse, and/or disclose, or

  threaten to retain, misuse, and/or disclose, Grillo’s trade secrets to Grillo’s detriment and

  substantial threat of impending injury. Accordingly, Grillo’s is entitled to obtain immediate

  injunctive relief to enjoin Patriot from its continued actual and threatened misappropriation of

  Grillo’s proprietary recipes and processes.

          40.     Accordingly, pursuant to Fla. Stat. § 688.003, Grillo’s is entitled to obtain

  immediate injunctive relief to enjoin Patriot from its continued actual and threatened

  misappropriation of Grillo’s proprietary recipes and processes.
                                                COUNT II

                          MISAPPROPRIATION OF TRADE SECRETS
                      (18 U.S.C. § 1836, et seq., “Defend Trade Secrets Act”)

          41.     Grillo’s repeats and realleges each and every allegation contained in the preceding

  paragraphs above as if fully set forth herein.

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          42.     This is an action for damages and injunctive relief pursuant to the Defend Trade

  Secrets Act, 18 U.S.C. § 1836, et seq.

          43.     By virtue of its co-packing relationship, Patriot was entrusted with Grillo’s trade

  secret recipes and manufacturing processes, which form the basis of Grillo’s brand and are what

  differentiate Grillo’s pickles from other brands on the market. Those trade secrets derive

  independent economic value, actual and potential, from not being generally known or readily

  ascertainable by proper means by Grillo’s competitors or other persons or entities who could

  obtain economic value from their disclosure or use.

          44.     Patriot is, and at all relevant times was, bound to retain Grillo’s trade secrets in

  strict confidence. In the Mutual Nondisclosure Agreement, Patriot agreed it would “maintain in

  trust and confidence and not disclose to any third party” Grillo’s “formulas” and “processes.”

  (Ex. A ¶¶ 1, 3.) And, in the May 2015 agreement, Patriot promised not to “disclose any

  confidential information to anyone other than those who have a need to know.” (Ex. B ¶ 2.)

          45.     Patriot also is, and at all relevant times was, bound to limit its use of Grillo’s trade

  secrets. Pursuant to the terms of the Mutual Nondisclosure Agreement, Patriot was prohibited

  from “us[ing] for any unauthorized purpose” any of Grillo’s “Proprietary Information,” which

  included Grillo’s “formulas” and “processes.” (Ex. A ¶¶ 1, 3.) And, in both the May 2015 and

  August 2016 agreements, Patriot agreed that the “name, recipes and formulations for Grillo’s

  Pickles remain the sole and exclusive property of Grillo’s Pickles, LLC.” (Ex. B ¶ 1; Ex. C.)

          46.     Grillo’s has made reasonable efforts under the circumstances to maintain the

  secrecy of its recipes and manufacturing processes, including, but not limited to, (1) having all

  Grillo’s employees sign nondisclosure agreements before they join the company; (2) maintaining

  a separate operations section of the Grillo’s server that restricts who can review certain material

  (like the recipes to Grillo’s various pickles); (3) ensuring the recipes’ bill of materials is typically

  only handled by one high-level employee; and (4) requiring all co-packers and vendors to sign

  nondisclosure agreements before Grillo’s enters into serious discussions regarding the recipe and

  manufacturing processes for its pickles.

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         47.     Patriot willfully and maliciously, and without authorization or consent from

  Grillo’s, has shared Grillo’s trade secrets with Whole Foods.

         48.     Patriot willfully and maliciously, and without authorization or consent from

  Grillo’s, is using Grillo’s proprietary recipes and processes to manufacture and ship pickles in

  interstate commerce on behalf of Whole Foods.

         49.     As a direct and proximate result of the above-described actual and threatened

  misappropriations of Grillo’s trade secrets, Grillo’s has been damaged, for which it is entitled to

  compensatory and exemplary damages, and attorneys’ fees as provided by 18 U.S.C. § 1836,

  interest, costs, and any other relief deemed proper by the Court.

         50.     Unless restrained, Patriot will continue to retain, misuse, and/or disclose, or

  threaten to retain, misuse, and/or disclose, Grillo’s trade secrets to Grillo’s detriment and/or

  substantial threat of impending injury. Accordingly, pursuant to 18 U.S.C. § 1836, Grillo’s is

  entitled to obtain immediate injunctive relief to enjoin Patriot from its continued actual and

  threatened misappropriation of Grillo’s proprietary recipes and processes.
                                              COUNT III

                                     BREACH OF CONTRACT
         51.     Grillo’s repeats and realleges each and every allegation contained in the preceding

  paragraphs above as if fully set forth herein.

         52.     Grillo’s and Patriot are parties to a May 2012 Mutual Nondisclosure Agreement

  under which Patriot promised to “maintain in trust and confidence and not disclose to any third

  party or use for any unauthorized purpose any” of Grillo’s information, including its “formulas”

  and “processes.” (Ex. A. at ¶¶ 1, 3.) That same contract required Patriot to (a) return Grillo’s

  formulas and processes “after [Patriot’s] need for it has expired, or upon request of [Grillo’s],

  and in any event, upon completion or termination of [the Mutual Nondisclosure Agreement]” and

  (b) “destroy all notes and copies thereof made by its officers and employees containing or based


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  on any [of Grillo’s formulas and processes] and to cause all agents and representatives to whom

  or to which [the formulas and processes] ha[ve] been disclosed to destroy all notes and copies in

  their possession that contain [the formulas and processes]. (Id. at ¶ 6.) Also, Patriot agreed in the

  May 2015 agreement not to “disclose any confidential information to anyone other than those

  who have a need to know.” (Ex. B. ¶ 2.)

          53.     Patriot failed to discharge its contractual obligations of confidentiality and not to

  use the recipes and processes for an unauthorized purpose. For instance, Patriot has disclosed

  Grillo’s proprietary formulas and processes to Whole Foods and is using the same, without

  Grillo’s authorization, to manufacture Whole Foods 365 pickles to compete directly with

  Grillo’s.

          54.     Patriot further failed to discharge its contractual obligations to return Grillo’s

  formulas and processes “after [Patriot’s] need for it has expired, or upon request of [Grillo’s],

  and in any event, upon completion or termination of [the Mutual Nondisclosure Agreement].”

  (Id. at ¶ 6.)

          55.     Upon information and belief, Patriot further failed to discharge its contractual

  obligations to “destroy all notes and copies thereof made by its officers and employees

  containing or based on any [of the formulas and processes] and to cause all agents and

  representatives to whom or to which [the formulas and processes] ha[ve] been disclosed to

  destroy all notes and copies in their possession that contain [the formulas and processes].” (Id. at

  ¶ 6.)

          56.     Grillo’s has suffered monetary damages as a result of Patriot’s breach.

          57.     Patriot has also agreed that Grillo’s would be irreparably harmed by a breach of

  the contract, and that in the case of such a breach, Grillo’s “shall be entitled to specific
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  performance of [Patriot’s] obligations . . . as well as further injunctive relief as may be granted

  by a court of competent jurisdiction.“ (Ex. A ¶ 10.)

         58.     Grillo’s is thus entitled to preliminary and permanent injunctive relief prohibiting

  Patriot from further breaches of these agreements, and further demands judgment against Patriot

  for monetary damages in an amount to be proven at trial, interest, costs of this action, attorney

  fees, and for all further relief this Court deems just and proper.

                                       PUNITIVE DAMAGES
         59.     To the extent the Court finds Patriot’s conduct as alleged herein was willful and

  malicious, Grillo’s seeks punitive damages.


                                      DEMAND FOR RELIEF

         WHEREFORE, Grillo’s respectfully requests that judgment be made and entered in its

  favor and against Patriot as follows:

         (a)     An order in Grillo’s favor against Patriot on all claims alleged herein;

         (b)     An order awarding Grillo’s general and special damages in an amount to be

                 further proven at trial;

         (c)     An order awarding Grillo’s pre-judgment interest on any monetary relief;

         (d)     An order awarding Grillo’s exemplary and punitive damages against Patriot;

         (e)     An order awarding Grillo’s attorneys’ fees and costs;

         (f)     An order preliminarily enjoining Patriot from possessing, accessing, or using any

                 of Grillo’s confidential, proprietary, or trade secret information, including by

                 manufacturing pickles using said information, or selling, shipping, or distributing

                 said pickles;

         (g)     An order permanently enjoining Patriot from possessing, accessing, or using any

                 of Grillo’s confidential, proprietary, or trade secret information, including by


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              manufacturing pickles using said information, or selling, shipping, or distributing

              said pickles;

       (h)    An order preliminarily and permanently ordering Patriot to remove from the

              market any pickles that were manufactured using any of Grillo’s confidential,

              proprietary, or trade secret information;

       (i)    An order preliminarily and permanently ordering Patriot to return all material

              containing or based on Grillo’s trade secret recipes and processes and return or

              destroy all notes and copies thereof containing or based upon any of Grillo’s trade

              secret recipes and processes and cause all its agents and representatives to whom

              Grillo’s trade secret recipes and processes have been disclosed to destroy all notes

              and copies in their possession that contain Grillo’s trade secret recipes and

              processes;

       (j)    An order awarding any and all other available damages and such other and further

              relief as the Court deems just and proper.


                               DEMAND FOR JURY TRIAL

       Grillo’s hereby demands trial by jury on all issues which may be so tried.




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  DATED: June 27, 2023      Respectfully submitted,

                            By /s/ Daniel Humphrey

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                                *Motion to Appear Pro Hac Vice Forthcoming




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                                          VERIFICATION
  I, Adam Kaufman, declare as follows:

         1.      I am the President of Grillo’s Pickles, Inc. (“Grillo’s”), Plaintiff in this action, and

  have served as an executive at Grillo’s since May 2018. I am familiar with the facts of this case

  and am authorized to verify this complaint on behalf of Grillo’s.

         2.      I have read the foregoing Verified Complaint and all the allegations contained

  therein. Except as to the allegations alleged upon information and belief, which allegations I

  believe to be true, all the allegations in the Verified Complaint are true based on my knowledge,

  inquiries to and communications with other Grillo’s employees and agents regard ing the matters

  alleged in the Verified Complaint, and documents gathered by Grillo’s attorneys and agents.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on this 27th day of June, 2023, at Westwood, Massachusetts.




                                                                 Adam Kaufman




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